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IN THE UNITED sTATEs BANKRUPTCY CoURT § § L E D
FoR THE wEsTERN DIsTRICT oF oKLAHoMA
in re; ALEXANDER Louls BEDNAR, case Number 15 11916 mill19 MAE l 5 |3 \4 25
Chapter 7 ,FK

   

Debtor.

 

 

Alexander L. Bednar Adv. Proc. No: 18-1096
Plaintiff
v

Franklin American Mortgage Company
Federal National Mortgage Association
Oklahoma County Sheriff

Defendants

And

Alexander Bednar
v.
RCB Bank

MOTION FOR STAY, PRELIMINARY INJUNCTION PENDING APPEAL AND
CONSIDERATION OF SANCTIONS AGAINST FANNIE MAE AND FRANKLIN
AMERICAN FOR INAPPROPRIATE ACTIONS REGARDING A SUBPOENA

COMES NOW DEBTOR/PLAINTIFF, per directive from the Tenth Circuit BAP and
requests that this Court issue a stay between Defendants and Plaintiff (injunctive relief) pending
appeal. Defendant lenders Fannie Mae and Franklin American have admitted they are enforcing
against Debtor interest, mortgage payments, and insurance payments that accrued against

Plaintiff after September of 2015, in violation of this Court’s Discharge Injunction. Defendants’

counsel in fact publicly stated that Plaintiff owes such debt on the record with Judge Cornish,

 

on November 1 2018, in clear violation of ll USC§ 524. See Tr. Nov. l, 2018, at p 29, lns 1-9.

 

When a creditor or debt buyer persistently tries to collect on a debt that was discharged in
bankruptcy, that creditor is violating federal law, namely section 524 of Title ll of the United
States Code, which states the discharge injunction:

“operates as an injunction against the commencement or continuation of an

action, the employment of process, or an act, to collect, recover or offset any
such debt as a personal liability of the debtor. . . .”

 

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I. DEFENDANTS FRANKLIN AMERICAN AND FANNIE MAE’S AVERMENTS
OF PAST MORTGAGE, AND INTEREST ACCRUED POST DISCHARGE IN THEIR
REQUEST FOR JUDGMENT IN CJ-2016-5004 VIOLATES BANKRUPTCY LAW
WHICH IMPOSES AN INJUNCTION AGAINST THEM AS AN OPERATION OF LAW
Thus, as CJ-2016-5004 Was commenced after the discharge injunction, and as creditors
Franklin American and F annie Mae have stated through their attorneys that they seek collection
of debt as personal liability of Debtor through such lawsuit, the entire suit violates the discharge

injunction.] The discharge injunction by operation of bankruptcy law “voids any judgment at

any time obtained, to the extent such iudgment is a determination of the personal liability of

 

the debtor with respect to any debt discharge ,” and “operates as an injunction against the

 

 

commencement or continuation of an action... to collect, recover, or offset any such debt as a

 

personal liability of the debtor” ll USC§ 524(a)(l)-(2).

 

This Court should enforce bankruptcy law found at ll USC 524 and Rule 105 and issue a
preliminary injunction against Defendants. Plaintiff Debtor has asked to enforce the settlement
agreement reached in bankruptcy With RCB, and seeks to litigate damages from RCB’s bad faith
mediation, as RCB apparently never intended to turn over a deed to the property.

The Defendant Sheriff has facilitated Defendant Franklin American’s violation of the
discharge injunction by artificially augmenting their credit on judgment at the August 2018
sheriff sale with interest and missed payments post discharge, in violation of ll USC 524. Also,
the Defendant Sheriff is subject to injunction for allowing the Defendant lenders’ counsel to

draft, flle and present fraudulent, and untimely filings in violation of Oklahoma laW.

 

l Defendant Franklin American’s collection actions and explanation of how they convinced the
Defendant Sheriff to unlawfully increase the request for judgment in their Petition to include
mortgage payments and interest for three years after the discharge injunction (Tr. P. 29, lns 1-9),
not only violates l l USC 524, but also the F air Debt Collection Act. This proves in personam
use of post discharge debt to bid against Mr. Bednar at the sheriff sale.

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II. RCB SHOULD BE ENJOINED FOR ONGOING VIOLATIONS OF THIS
COURT’S ORDER TO MEDIATE AS WELL AS THE ADVERSARIAL PROCEEDING
SETTLEMENT AGREEMENT PER RULE 105, AS THIS COURT HAS THE POWER
TO REVIEW AS A CONTEMPT ACTION RCB’S FAILURE TO MEDIATE IN GOOD
FAITH (IMPLIED IN THIS COURT’S ORDER) AND THE CORE PROCEEDING
ABILITY TO INTERPRET AND ENFORCE THE MEDIATION AGREEMENT

RCB falsely led this Court to believe that it had performed according to the settlement
agreement reached in the mediation this Court ordered. Exhibit l. RCB misrepresented multiple
times that it had issued and delivered a quitclaim deed to Plaintiff or his designee as part of the
contract for deed mediation settlement (ie. April 20, 2018 filing by RCB attorney in CJ-2016-
5004 violating the confidentiality clause of the settlement) (Exhibit 3). In truth, RCB’s counsel
admitted on November 1, 2018 that it did not send a deed until July 31, 2018, and that such deed
was deficient as the notary stamp expired prior to the grantee name being verified by the grantor.

This Court relied on RCB’S false statement that it had drafted and sent to Plaintiff a valid
quitclaim deed to dismiss the adversarial proceeding when it dismissed adv proc 15-1248. In
truth, RCB colluded with Franklin American and violated the very bankruptcy settlement
agreement they signed, and took material action to further Franklin American’s harassing
litigation in CJ-2016-5004 in violation of 11 US 524 and in violation of the Settlement
Agreement. Exhibit 1.

RCB’s counsel Scott Kirtley initialed the handwritten clause on page 4 of Exhibit 1:
“THIS SETTLEMENT AGREEMENT IS AGREED TO BE CONFIDENTIAL AS A
MATERIAL TERM.” RCB’s counsel then violated that material term in publishing Exhibit 3 in
April of 2018. Another material term is in paragraph 10 of Exhibit 1, that RCB would not cause
to be filed anything “involving any continuing effects of actions or practices which arose prior to

the date of this agreement, except as expressly set forth in this Agreement.” By filing the

“disclaimer” (Ex. 3) in Franklin American’s case, RCB breached that paragraph of the

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settlement, as the settlement listed cases, and that one was not one “expressly set forth.” These
glaring and obvious breaches of the mediation agreement alone justify a preliminary injunction
At the hearing in November of 2018, RCB’s counsel falsely told the court that Mr.
Bednar had delayed in giving RCB the name to place on the deed at issue until late 2018 (Tr. P.
33 lns. 12-14) and that it should be Mr. Bednar’s problem that he received an invalid deed. ln
truth, Mr. Bednar gave Mr. Kirtley in December of 2017 the proper name to place on the deed.
See Exhibit 2. As such RCB’s attorney lied to this Court in November of 2018 and delayed
turning over the deed per settlement, RCB’s attorney lied in April of 2018 and published in
Exhibit 3 that a deed was “delivered” pursuant to settlement, another lie, calculated to give
Franklin American a “green light” to seek title against Mr. Bednar through a default judgment
that occurred in June of 2018, RCB’s misrepresentations and violations of the bankruptcy
settlement have now created a situation where they cannot perform according to the agreement
(Exhibit l) as they cannot convey title - as Franklin American gained title through the unlawful
second sheriff sale in August of 2018, A certified question to the Oklahoma Supreme Court
would help clarify whether or not the entire second foreclosure action CJ-2016-5004 also
violates Oklahoma law and should be declared void (per 12 OS 2004.2), aside from clearly
violating bankruptcy law, (being initiated after the discharge and imputing post discharge debt).
RCB’s attorneys have a history of misrepresentations to Courts, as Scott Kirtley was
discovered to have issued an inaccurate affidavit in refusing to turn over discovery issued by Mr.
Bednar in adversarial proceeding 15-1248. This Court chose to send the parties to mediation in
lieu of examining the facts regarding Mr. Kirtley’s false declaration to this court, perhaps
because Mr. Kirtley is a trustee in bankruptcy court and this Court wanted to prevent

embarrassing him or subjecting him to sanctions. RCB never intended to mediate in good faith,

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never intended to convey title to Mr. Bednar or his designee (identified in December 2017) (Ex.
2), and chose to collude and conspire with Franklin American (Ex. 3) to violate the settlement
agreement and prevent its ability to convey title after receiving sizeable consideration Ex. l.
RCB should be enjoined from further litigation regarding its own foreclosure action,
given the fact this Court relied on RCB’s misrepresentation that it had fully performed (conveyed
title) when it dismissed the adversarial proceeding 15-1248 without entering the settlement
agreement as a valid enforceable order (Exhibit l). RCB’s attorneys had a mandatory duty at
law, to apprise the state court in CJ-2016-5004 that its confidential mediation agreement
amounted to a mortgage that must be presented in foreclosure (Exhibit l), in lieu of violating the
settlement agreement by filing the bogus, untruthful “disclaimer” on April 20, 2018, 46 OS l; 16
OS llA (law states a foreclosure action cannot proceed until a contract for deed is included).
RCB and Franklin American should be enjoined from any activity until this Court is able
to interpret, enforce, and validate the mediation settlement, Otherwise, the mediation agreement
remains illusory, as RCB still has not provided consideration, and is transgressing material terms.
III. FRANKLIN AMERICAN KNOWS IT LOST ITS SECURITY INTEREST IN THE
FIRST SHERIFF SALE IN CJ-2015-192, HENCE ITS ZEALOUS VIOLATION OF
BANKRUPTCY LAW VIA AGGRESSIVE UNLAWFUL LITIGATION IN CJ-2016-5004
lt should be noted that Franklin American filed CJ»2016-5004 with full knowledge that
RCB’s foreclosure (in which it is a party)(CJ-2015-l92) was an active case in which title was
transferred to RCB Bank through a sheriff sale that to date has not been consummated Under
state law found at 12 OS 2004.2, the entire case (CJ-2016-5004) is moot and lacking in

jurisdiction, and represents clear harassment on behalf of creditor Franklin American. A

certified question to the Oklahoma Supreme Court would clarify this issue between the parties.

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Franklin American and Fannie Mae failed to seek any deficiency amount owed them in
CJ-2015-192 within 90 days of the 2016 sheriff Sale conferring title to RCB, and thus those two
lenders forfeited all of their security interest in Debtor’s homestead. See Bank of Oklahoma v.
Welco, Inc., 1995 OK CIV APP 43 at para. 17-18, citing Baker v. Martin, 538 P.2d
1048 (Okla. 1975) explaining that 12 OS 686 provides the exclusive remedy to a
creditor in a case who has a residue interest after a sheriff sale, and requiring such
creditor to file for deficiency as a “post judgment prerequisite” within 90 days, in order

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to receive the “unpaid balance due upon the original judgment. A certified question to
the Oklahoma Supreme Court regarding Franklin American and Fannie Mae’s loss of
security interest after the first sheriff sale would also support injunctive relief as neither
defendants should have initiated case CJ-2016-5004, which violates of 11 USC 524.

A creditor “must file a motion for deficiency judgment within 90 days after the
sale of the mortgaged premises or else suffer the consequences, as discussed by the
Riverside Court, i.e., the debt for which the mortgage stands as security will be deemed
satisfied.” Id at para. 19. Franklin American failed to do so, and forever caused the
debt for which the mortgage stood as a security to be deemed satisfied as a matter of
law. See e.g. Apache Lanes Inc. v National Educators Life Ins., 1974 OK 106 (failure of
a creditor to seek deficiency judgment amount due as residue after sheriff sale not only
bars creditor from asserting the debt against debtor, but also against guarantors).

The discharge injunction was issued in September of 2015, and Franklin
American was on the creditor matrix and received it. Because the above cited law as

well as 12 OS 2004.2 bars a party from instituting a collateral attack on title to the same

property being litigated in another case that it is aware of, Franklin American’s entire

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new>foreclosure lawsuit was harassing, unlawful, devoid of jurisdiction, and instituted
litigation against Mr. Bednar in violation of the discharge injunction, in an attempt to
offset debt that was forever discharged by operation of law within 90 days of the 2016
sheriff sale, when it failed to file a motion for deficiency.

Defendants Franklin American and Fannie Mae continue to litigate an entire lawsuit (CJ-
2016-5004) in violation of 11 USC 524, as the lawsuit seeks interest, missed payments, and
insurance accrued after the discharge date; the suit is tantamount to harassment as it seeks title to
the same property as CJ-2015-192, in violation of Oklahoma law 12 OS 2004.2 (which makes
the lawsuit moot). Preliminary injunction should issue against them, per ll USC 524, Rule 105 .

A stay against the Sheriff is within the Court’s core proceeding plenary jurisdiction as the
Sheriff is facilitating Defendants’ actions to violate this Court’s Orders, and allow the
unscrupulous attorneys for the lenders to draft, present, and file false documents on behalf of the

sheriff, augmenting credits on judgment, and filing notice of the August 2018 sheriff sale after

 

the sale occurred ~ Mr. Bednar witnessed that happening himself. Preliminary injunction should
issue per this Court’s inherent, plenary powers to enforce its own orders and determine contempt.

To further justify an injunction against the Sheriff, consideration of the following should
be considered: a certified question to the Oklahoma Supreme Court as to whether any law exists
that allows the Oklahoma County Sheriff to increase the amount of an existing default judgment
by adding to it post discharge debt assessed against a debtor, in violation of 11 USC 524 (the
discharge injunction).

IV. THIS COURT SHOULD ISSUE A PRELIMINARY INJUNCTION FOR
VIOLATIONS OF STATE LAW AS WELL AS BANKRUPTCY LAW

Plaintiff pointed out to this Court in his original pleadings that Defendants RCB,

Franklin American, and Fannie Mae had a duty to apprise the state court of the bankruptcy

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mediation settlement agreement (which is a contract for deed from a core proceeding)(Exhibit l),
as no state foreclosure case may properly proceed without including a contract for deed, which
the law deems to be a mortgage. 46 OS l; 16 OS llA. Thus, under plenary jurisdiction to
enforce previous orders under Rule 105, this Court should enjoin Defendant Franklin American
from continuing to litigate its second redundant and moot foreclosure action (CJ-2016~5004)
without incorporating into that matter the bankruptcy mediation settlement agreement that this
Court Ordered. A preliminary injunction should issue pursuant to this Court’s core jurisdiction
ability to interpret and enforce settlement agreements in adversarial proceedings

Again, to justify preliminary injunction, a certified question to the Oklahoma Supreme
Court could issue regarding whether the Defendant lenders through their attorneys had a
mandatory and/or ethical duty to halt the foreclosures and apprise the state foreclosure courts of
the confidential bankruptcy mediation agreement (deemed a mortgage at law) after publishing
about it on April 20, 2018 per exhibit 3, given Oklahoma law found at: 16 OS 11A and 46 OS 1.
V. DEFENDANTS FANNIE MAE AND FRANKLIN AMERICAN ARE HARRASSING
THE RECIPIENT OF A RECENT SUBPOENA, MISREPRESENTING THE LAW TO
THAT PERSON, AND ARE PRESSURING THAT PERSON IN VIOLATION OF
ETHICS AND RULE 45, DEMONSTRATING CONTINUED WILLINGNESS TO
VIOLATE THE LAW - SUPPORTING AN IMMEDIATE INJUNCTION AND STAY

As immediate support for preliminary injunction, Debtor/Plaintiff states that
Defendants/Creditors Fannie Mae and Franklin American have taken concerning aggressive
action the past several weeks after filing a void subpoena in violation of Rule 45, without a
discovery conference per Rule 26, and are currently pressuring the recipient of their attorneys’

subpoena to turn over documents after that recipient indicated awareness of Debtor’s Motion to

Quash. The Business owner has detailed clear ethical violations by Defendants in violation of

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procedure, and misrepresentation to the business regarding the duty to turn over documents -
given the fact this court has not ruled on the subpoena

In lieu of apprising the recipient of their subpoena that they need not turn over requested
documents until the Court rules on the Motion to Quash (which a subpoena must clearly state),
the Defendants Fannie Mae and Franklin American’s attorneys are misrepresenting to the
recipient of Jim Timberlake’s subpoena that the business must turn over the requested
documents, a falsity given this court has not ruled on the Motion to Quash. An attorney from the
Timberlake Law Firrn has harassed the business on a daily basis starting February 27, 2019,
pressuring it to turn over the documents they seek, in light of having received the Motion to
Quash. In fact, the attorney from the Timberlake firm named Mr. Sharp has physically harassed
the business every day demanding the production of documents, in light of knowing that a
motion to quash was filed, and that this court has not ruled on such motion.

If a subpoena is directed to a corporation, it must be personally served on a corporate
officer or agent authorized under FRCP Rule 4 to accept service of process (See In re
Motorsports Merchandise Antitrust Litig. 186 FRD 344, 348 (W.D. Va. 1999). In lieu of
directing its actions to the corporate ofiicer, the Timberlake law firm attorney has been harassing
the Workers at the business, demanding the documents - When his duty is to apprise the business
NOT to turn over documents until the Court rules on the Motion to Quash. Thus, the Defendants
Fannie Mae and Franklin American, through the Timberlake law firm is exhibiting conduct that
must be enjoined, and sanctioned as a matter of law.

Generally, a subpoena may not be served before parties conduct a FRCB Rule 26(f) pre
trial discovery conference, also known as meet and confer (FRCP Rule 26(d)(1)). The Western

District of Oklahoma requires that parties have a conference under Fed R. Civ P Rule 26 before

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issuing discovery, and Bankruptcy Law procedure incorporates such procedure. The subpoena is
inappropriate as no conference occurred, and as this Court does not have jurisdiction for matters
on appeal.

Courts have held that a party’s attempt to enforce an invalid subpoena is a per se
violation of this rule (FRCP Rule 45(d)(1)) and therefore sanctionable in certain circumstances
See Matthias Jans & Assocs, v. Dropic No. 01 -mc-0026, 2001 WL 1661473 at *3 (W.D. Mich.
Apr. 9, 2001). The conduct occurring at this time by the Defendants is disturbing, given the
calculated misrepresentations and pressuring of the business that received Jim Timberlake’s
subpoena.

Defense counsel conduct by Timberlake attorney Mr. Sharp to a) misrepresent to the
recipient of the subpoena its duty to hold onto the documents given Plaintiff’s Motion to Quash,
and b) harass the workers at the establishment by returning on a daily basis and demanding the
documents - when this court has yet to rule on the motion to quash - is abhorrent conduct that
should be immediately enjoined and possibly submitted to the Oklahoma Bar Association.

WHEREFORE, given the Tenth Circuit BAP’s directive granting him the right to do so
as a procedural prerequisite to asking the BAP, Debtor/Plaintiff requests that this Court enter a
stay and issue a stay a preliminary injunction against Defendants for reasons listed above,
pending appeal. Given the emergent unethical conduct of Franklin American and Fannie Mae in
seeking discovery in this case, Debtor requests this relief on an expedited basis.

Respectgally submitted,

   

/s/
Alex er Bednar,
15721 Via Bella
Edmond, OK 73013
405 420 9030
Representing Debtor (self)

 

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NOTICE AND OPPORTUNITY FOR HEARING

YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THIS DOCUMENT CAREFULLY
AND CONSULT YOUR ATTORNEY ABOUT YOUR RIGHTS AND THE EFFECT OF THIS
DOCUMENT. IF YOU DO NOT WANT THE COURT TO GRANT THE REQUESTED RELIEF,
OR YOU WISH TO HAVE YOUR VIEWS CONSIDERED, YOU MUST FILE A WRITTEN
RESPONSE OR OBJECTION TO THE REQUESTED RELIEF WITH THE CLERK OF THE
UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF OKLAHOMA,
215 DEAN A. MCGEE AVENUE, OKLAHOMA CITY, OK 73102, NO LATER THAN 14
DAYS FROM THE DATE OF FILING OF THIS REQUEST FOR RELIEF, UNLESS ORDERED
SOONER BY SEPARATE ORDER. YOU SHOULD ALSO SERVE A FILE-STAMPED COPY OF
YOUR RESPONSE OR OBJECTION ON THE UNDERSIGNED MOVANT (AND OTHERS WHO
ARE REQUIRED TO BE SERVED) AND FILE A CERTIFICATE OF SERVICE WITH THE
COURT. IF NO RESPONSE OR OBJECTION IS TIMELY FILED, THE COURT MAY GRANT
THE REQUESTED RELIEF WITHOUT A HEARING OR FURTHER NOTICE.

THE 14 DAY PERIOD DESCRIBED ABOVE INCLUDES THE THREE (3) DAYS ALLOWED
FOR MAILING PROVIDED FOR IN BANKRUPTCY RULE 9006 (F).

CERTIFICATE OF SERVICE

Undersigned certifies that on this date the foregoing document was served, via
United States Mail, 1st class postage pre-paid, and properly addressed to the
following:

Oklahoma County District Attorney Don Timberlake

c/o Rod Heggy PO Box 18486

320 Robert S Kerr Oklahoma City, OK 73154-0486
County Building, 5th Floor Attorney for Franklin American
Oklahoma City OK 73102 and Fannie Mae in state court

Attorney for Oklahoma County Sheriff

Scott Kirtley, Esq RCB Bank
Riggs Abney Law Firm 300 W. Patti Page

502 W. 6th Street Claremore, OK 7 17
Tulsa, OK 74119-1010

/s/ t

Alexander Bednar / Debtor

15721 Via Bella

Edmond, OK 73013 405 420 9030

bednarconsult@ gmai l.com

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Re: Confidentia| per Settlement of case

.=‘z'or;:; A|ex
Bednar <bednarconsult@gmai|.com>

::): "Scott P. Kirtley"
<SKirt|ey@riggsabney.com>

.-;; "jsmithS@bankrcb.ne "
<jsmith3@bankrcb.net>
Dec 29, 2017, 4:49 PM

;:;§r‘::ie;:l:: Re: Confidentia| per settlement of
case

 

gmai\.com

There is no Buyer
P|ease make the Quitc|aim Deed to The lVIFB Trust

Thank you

Alex

Sent from my iPhone

EXHIBIT 2

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lN THE DISTRlC.'l` COURT Ol" OKLAllOMA COUNTY
STA'|`F, ()F OKLAH()MA

FRANKLIN AMERICAN MORTGAGL`
COMPANY,

Plaintiff,
vs. CASE NC. CJ~2016-5004
ALEXANDER Bl:`,DNAR, JILL BEDNAR,

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RCB BANK, CHARLES F. ALDEN, ul, INC., ) FILED m m.,-T,,
P.C., ROSENSTEIN, FisT & RINGOLD, ) OKLAHO ‘ `
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1Nc., ANDREA KUNKEL,KENT RA\NF,Y, ‘ " (‘U['=NTY
KENTCO INC.. DBA AMERICAN APR 2 0 gng

MORTGAGE SOURCE, UNl'l`ES STATES
Ol" Al\/[ERICA, F,X REL., lN'fERN/\L
R_EVENUE SERVICE, JANE DOE, AS
OCCUPANT OF THE PREMISES, J()HN
DOE, AS OCCUPANT OF THE PRF.MISES,

RICK \>0` ‘ ~
______`__'_"_--
Defendants.
DISCLAIMER
COME N()W the named Defendant, RCB Bank, and disclaims any and all right, title or
interest in and to the real property identified in the Plaintiff"s Petition liled in these proceedings as
a result of settlement with the Defendant Alex Bednar in thc Oklahoma County District Court Casc
No. CJ-201 5-1 92 and further represents it executed and delivered a Quit Claim Deed thereto during
the course of these proceedings, covering the following described real property:
LOTS ONE (1) AND NINE (9), IN BLOCK SEVEN (7), OF ESPERANZA
ADDITION, SECTION 2, TO THE CITY OF OKLAHOMA CITY,
OKLAHOMA COUNTY, OKLAHOMA, ACCORDING TO THE
RECORDED PLAT THEREOF.

THE REAL PROPERTY OR ITS ADDRESS 15 COMMONLY KNOWN AS
15721 VIA BELLA, EDMOND, OKLAHOMA 73013.

DArED THIS §§ DAY or APRIL. 2018_

 

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LEE, GOODWIN, Ll~.`l~j_,
LEWIS & DOBSON

By: are
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Kyle ooodwin, oBAin 7036

1300 E. 9th. Suite 1

Edmond, ()K 73034

405.330.0118

405.330.0767

kgoodwin@cdmondlawoffice.com

 

CERTIFICATE OF MAlLING

This is to certify that on the 210 day of April, 2018, a true and correct copy of the above
and foregoing instrument was mailcd, with postage fully prepaid_. to:

Don Timberlake

Baer & Timberlakc, P.C.

P.O. Box 18486

Oklahoma City, OK 73154-0486
Attorneys for Plaintiffs

Kay Sewell

Assistant US Attorney

210 Park Avenue, Suite 400
Oklahoma City, OK 73102

Frcdcrick J. llegenbart
Rosenstein. l"ist & Ringold
525 S. Main, Suite 700
Tulsa, Oklahoma 73104-4508

Charles F. Alden, III
Charles F. Alden, III, P.C.

 

 

 

 

Case: 18-01096

309 NW 9‘h Street
Oklahoma City, OK 73102-2605

.1 ill Bednar
1708 Dorchester Drive
Oklahoma City, OK 73120

Alexander 1.. Bednar
3030 NW Expressway
Oklahoma City, OK 731 12

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(J.)

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